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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF COLORADO

 In re:                                                )
                                                       )      Case No. 10-24238 HRT
 SVS HOLDINGS, INC.,                                   )
                                                       )      Chapter 11
              Debtor.                                  )


  SMARTMATIC CORPORATION'S MOTION FOR EXPEDITED HEARING ON
   MOTION FOR AUTHORITY AND STANDING TO PROSECUTE CAUSES OF
   ACTION ON BEHALF OF THE DEBTOR OR, IN THE ALTERNATIVE, FOR
                  APPOINTMENT OF A TRUSTEE


              Smartmatic Corporation, by its successor in interest, Smartmatic USA Corporation

 (Smartmatic Corporation and Smartmatic USA Corporation are collectively referred to

 herein as “Smartmatic), by and through its undersigned attorneys, hereby moves for the

 setting of an expedited hearing on Smartmatic Corporation's Motion for Authority and

 Standing to Prosecute Causes of Action on Behalf of the Debtor or, in the Alternative, for

 Appointment of a Trustee (“Standing Motion”), and states as follows:

              1.            Contemporaneously with the filing of this Motion, Smartmatic has filed its

 Standing Motion, in which it seeks authority to assert avoidance actions on behalf of the

 Debtor's estate for the benefit of unsecured creditors. Alternatively, Smartmatic seeks

 appointment of a Chapter 11 Trustee.


              2.            Smartmatic has also filed a Motion for Conversion of Chapter 11 Case to

 Case Under Chapter 7 (“Conversion Motion”). Pursuant to Local Rule 2081-3, a


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 preliminary hearing on the Conversion Motion will take place on October 16, 2012, at

 1:30 p.m.


              3.            Smartmatic believes that it is necessary that the Standing Motion be

 considered on a expedited basis. As explained in the Standing Motion, the deadline for

 filing avoidance actions in the Debtor's bankruptcy proceeding is currently December 9,

 2012. It is imperative that the Standing Motion is considered and decided sufficiently in

 advance of that deadline so that available avoidance actions can be initiated in a timely

 fashion. In addition, it will be more convenient and efficient for all parties and the Court

 if the Standing Motion and the Conversion Motion are heard at the same time.


              4.            Smartmatic further requests that a preliminary hearing be scheduled on the

 Standing Motion at the same date and time as the Conversion Motion, which is

 October 16, 2012, at 1:30 p.m.


              5.            Setting the date for the preliminary hearing to correspond with that of the

 Conversion Motion will avoid confusion and make administration and disposition of the

 motions more efficient. Given the relatively small number of parties in interest involved,

 an expedited hearing will not prejudice the rights of any party.


              WHEREFORE, Smartmatic respectfully requests that the Court enter its Order

 setting an expedited hearing on the Standing Motion to coincide with the Conversion

 Motion, and for such other and further relief as is appropriate.

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              DATED: September 21, 2012

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                                     CERTIFICATE OF SERVICE

         I hereby certify that on September 21, 2012, a true and correct copy of SMARTMATIC
 CORPORATION'S MOTION FOR EXPEDITED HEARING ON MOTION FOR
 AUTHORITY AND STANDING TO PROSECUTE CAUSES OF ACTION ON BEHALF OF
 THE DEBTOR OR, IN THE ALTERNATIVE, FOR APPOINTMENT OF A TRUSTEE were
 mailed by depositing same in the United States mail, first class postage prepaid, addressed to the
 CM/ECF registered attorneys and parties in interest at the addresses of record on the Court’s
 electronic database (“Mailing Matrix”) as of the date of service on the attached Service List.


                                              /s/ Carol Ealey
                                              OF: ROTHGERBER JOHNSON & LYONS LLP




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